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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR116
                                              )
              Plaintiff,                      )
                                              )                  AMENDED
              vs.                             )              TENTATIVE FINDINGS
                                              )
ROBERT McFARLAND,                             )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“Revised

PSR”) and the parties’ objections thereto (Filing Nos. 90, 95, Addendum to PSR). See

Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 2005

WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶ 71, arguing that placement in criminal history category

over represents the Defendant’s criminal history. This argument, although posed as an

objection, should be raised and will be considered as a motion for downward departure

pursuant to U.S.S.G. § 4A1.3. The Court notes the Defendant’s lengthy criminal history

and contacts with law enforcement beginning at age 9 and continuing steadily throughout

his juvenile and adult years. culminating with the instant offense. The motion for downward

departure is denied.

       The parties agree that the Defendant’s conduct merits a minor role reduction

pursuant to U.S.S.G. § 3B1.2(b). Paragraphs 13 and 14 of the PSR appear to support this

contention. Therefore, the Court’s tentative finding is that the objection should be granted,

the adjusted offense level is 10, the total offense level is 8, the guideline range is 18-24

months, and the fine range is $1,000-$10,000.
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       IT IS ORDERED:

       1.      The Defendant’s objection to the Revised PSR with respect to criminal

history, considered as a motion for downward departure, (Filing No. 95) is denied;

       2.      The parties’ objections to the lack of a reduction for minor role are granted;

       3.      Otherwise the Court’s tentative findings are that the Revised PSR is correct

in all respects;

       4.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.      Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 2nd day of November, 2005.

                                           BY THE COURT:

                                           s/ Laurie Smith Camp
                                           United States District Judge




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